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                IN THE DISTRICT COURT OF COMANCHE COUNTY
                            STATE OF OKLAMOMA
                                                                          STAil: OF Ol<LAHOMA
                                                                             Cornanche County
.JAMES FRANKLIN McLAUGHLIN, Ill,                                                FILED in the
                                                                          Offlco of the Court Clerk

         Plaintiff,                                                             APR D 11 2022
vs.                                                        Case No.

BRETT STEVENS,

         Defendant.

                                          PETITl()N

         Comes now the l}laintin: James Franklin McLaughlin, Ill (hereinafter called

McLaughlin) and for his claims against the Defondant, Brett Stevens, alleges and states:

                                FIRST CAUSi( OF ACTlON

      1. On or ubout December 6, 2021 at a house located at 4706 SF/\vnlon Avenue,

Lawton, Oklahoma in the County       or Comanche, the Dcfondanl, Bretl    Stevens, without

the consent ol'McLaughlin acted either with lhe intent     or nrnking a harmlt1l/o/Tensivc
contnet with the person or Mel ,aughlin, or with the intent. of putting Mel ,aughlin in

apprehension of such a conlacL 1"urther, Dc/c11dan1 Breit Stevens acts resulted in

harml'ul/olTcnsive contuct with Mel ,aughlin.

      2. /\s :t resiilt oftht: Dcfondnnt, Brett Stevens conducl Mel ,m1ghlin has su!Tcred

damages including punitive damages f'or the intentional nnd reckless conduct of

Defendant. Bretl Stevens.




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                              SECOND CAUSE OF ACTION

    3. Plaintiff rcalleges and readopts Paragraphs I and 2 contained in the First Cause of

/\ct.ion.

    4. The Defendant, Brett Stevens' actions in the setting in which they occurred were

so extreme and outrageous as to go beyond all possible bounds of decency and would be

considered atrocious and utterly intolcrnhlc in n civilized society and Defendant, Bretl

Stevens intentionally or recklessly caused severe cmolionnl distress lo McLaughlin

beyond that which a rensonablc person could be expected to endure.

    5. As a result of Dcfcndanl, Brett Stevens conduct, McLaughlin has suffered

clnmagcs including punitive dalllagcs for the intentional and reckless conduct or

I )cfondanl, Bretl Stevens.

        WI IEREFORE, the Plaintiff demands judgment agninst the Defendant in an amount

in excess of' Seventy-Five Thousand Dollnrs ($75,000.00) with the exact amount to be

determined by the jury, and for punitive damages in an mnount iu excess of Seventy-Five

Thousand Dollars ($75,000.00) with (he cxacl amount to be determined by the jury;

together with such interest and costs, as may he provided by law, and/or such other relief

as the Court deems appropriate.

        Rcspecffully Submitted,

                                         ZELBST, HOLMITS & BUTLKR




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